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                       IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

     In re:                                     :    Chapter 11
     Blackjewel, L.L.C., et al.,                :    Case No. 19-30289
     Debtors,1                                  :    (Jointly Administered)
                                                :
                                                :
     BLACKJEWEL, L.L.C., et al.                 :    Adv. Proc. No. 3:20-ap-03008
                                                :    (Consolidated Cases Adv. Proc. No. 3:20-ap-
            Plaintiffs,                         :    03012 & Adv. Proc. No. 3:20-ap-03015)
     v.                                         :
                                                :
     CLEARWATER INVESTMENT                      :
     HOLDINGS, LLC, et al.,                     :
                                                :
            Defendants.                         :

          JOINT MOTION TO STAY SUMMARY JUDGMENT BRIEFING DEADLINES

           The Blackjewel Liquidation Trust (the “Trust”), as successor to the Debtors as Plaintiffs in

 the above-captioned consolidated actions, and Defendants Jeffery A. Hoops, Sr., Clearwater

 Investment Holdings, LLC, Lexington Coal Company, LLC, Lexington Coal Royalty Company,

 LLC, Triple H Real Estate, LLC, and Construction & Reclamation Services, LLC (“Defendants”)

 (together with the Trust, the “Parties”), by and through their respective counsel, jointly move the

 Court for an order staying indefinitely the summary judgment briefing deadlines set forth in its

 March 17, 2022 Order Regarding Consolidation and Scheduling [Doc. 103], as amended by the

 Court’s May 6, 2022 order [Doc. 109] (as amended, the “Order”), pending further motion or future

 order of the Court. Based on the progress of mediation to date, the Parties believe that further



 1
   Debtors in these chapter 11 cases and the last four digits of each Debtor’s taxpayer identification
 number were as follows: Blackjewel, L.L.C. (0823); Blackjewel Holdings L.L.C. (4745); Revelation
 Energy Holdings, LLC (8795); Revelation Management Corporation (8908); Revelation Energy, LLC
 (4605); Dominion Coal Corporation (2957); Harold Keene Coal Co. LLC (6749); Vansant Coal
 Corporation (2785); Lone Mountain Processing, LLC (0457); Powell Mountain Energy, LLC (1024);
 and Cumberland River Coal LLC (2213). The Trust is the successor-in-interest to the Debtors as
 Plaintiffs for purposes of this action.
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 summary judgment briefing may be unnecessary and would be counterproductive to continued

 efforts to reach a final consensual resolution.

        This joint motion is timely pursuant to Rule 6(b) of the Federal Rules of Civil Procedure

 and is not made for any improper purpose. The requested extension would serve the interests of

 justice and would promote judicial economy by avoiding potentially unnecessary fees and effort

 while the Parties complete the process of the Court-ordered mediation. For the convenience of

 the Court, a proposed order granting this Motion is attached.

                                           CONCLUSION

        For the foregoing reasons, the Parties respectfully request that the Court modify its Order

 to extend the summary judgment briefing deadlines indefinitely pending further motion or future

 order of the Court.


 Respectfully submitted,


  DATED: May 26, 2022                              SUPPLE LAW OFFICE, PLLC

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                                                    – and –

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                                               Counsel for Defendants




                                 CERTIFICATE OF SERVICE

         The undersigned attorney hereby certifies that the foregoing “Joint Motion to Stay

 Summary Judgment Briefing Deadlines” was filed and served upon counsel for Defendants via

 electronic mail this 26th day of May, 2022.
                                                 /s/ Scott A. Kane


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